UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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AMERETCAN FEDERATION OF GOVERNMENT
EMPLOYEES, AFL-CIO, et al.,
25cev1237 (DLC)
Plaintiffs,
PRELIMINARY
-V- : INJUNCTION
U.S. OFFICE OF PERSONNEL MANAGEMENT,
an agency of the United States, et
al.,
Defendants. :
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DENISE COTE, District Judge:

On May 29, 2025, a hearing was held on the plaintiffs’

motion for a preliminary injunction against the U.S. Office of
Personnel Management (“OPM”) and others. As described in an

Opinion of June 9, the plaintiffs carried their burden at this

stage of the proceedings of showing violations of the Privacy
Act, 5 U.S.C. § 552a, and the Administrative Procedure Act, 5

U.S.C. § 701 et seq. Am. Fed’n of Gov't Emps. v. OPM, No.

25cvl237, 2025 WL 1621714 (S.D.N.Y¥. June 9, 2025).

Following receipt of the parties’ proposals for an
injunction, the Court provided the parties with a draft of an
injunction and held a conference on June 13. The parties

conferred and submitted their revised proposals on June 19.

In its June 19 submission, the Government explained that
three Government audits touching upon DOGE access to OPM data
systems are underway or will be conducted: (1) the Government
Accountability Office is auditing DOGE access to data systems at
OPM and other agencies to assess the impact of that access,
including what information was put into data systems or taken
out of data systems; (2) OPM’s Office of the Inspector General
(“OIG”) is conducting a review of access to OPM data systems in
response to a Congressional request; and (3) OPM’s OIG conducts
an annual audit of OPM’s information technology security
practices to ensure compliance with the Federal Information
Security Management Act. Another conference with the parties
took place on June 20. Having considered the record in this
action, the findings and conclusions in the June 9 Opinion, and
the parties’ proposals, it is hereby

ORDERED that within two weeks of the effective date of this
Order, OPM file a report which describes the processes and
procedures put in place by OPM since March 6, 2025, to ensure
adherence to the requirements of the Privacy Act with respect to

any new grant of access permissions by OPM to any records
containing personally identifiable information (“PII”) of the
plaintiffs! that exist in any OPM system of records.

IT IS FURTHER ORDERED that within four weeks of the
effective date of this Order, OPM file a report concerning OPM’s
grant of access permissions to any records containing PII of the
plaintiffs that exist in any OPM system of records made to any
DOGE Agent, where such access permissions are in effect as of
the date of this Order (“DOGE Access Report”). For purposes of
this Order, DOGE Agents are defined as (1) the individuals
listed on page OPM-103 of the administrative record; (2) any
individuals employed by the United States DOGE Service (“USDS”)
and detailed to OPM; (3) any individuals employed by OPM and
detailed to USDS; (4) any individuals employed by GPM who are
detailed to any other federal agency for the principal purpose
of implementing initiatives that are directed by USDS; and (5}
any individuals who were not employees or contractors of OPM
prior to January 20, 2025 and who have been given access to any
OPM system of records containing PII for the principal purpose
of implementing initiatives that are directed by USDS. Excluded
from this definition are Charles Ezell, Gregory Hogan, Amanda

Scales, and James Sullivan.

1 For purposes of this Order, the “plaintiffs” include the
members of the plaintiff organizations.
The DOGE Access Report will include the following for each

such DOGE Agent and will be signed by an official with knowledge

thereof, under oath:

(1)

A summary of access for the DOGE Agent, which may follow
the format of the OPM audit contained on page OPM-103 of
the administrative record. The summary shall specify the
system to which access is granted, when access was
granted, whether the access granted is regular user
access or administrative access, OPM’s determination as
to whether the DOGE Agent logged in to the system, and if
so the most recent date when they logged in.

Whether such DOGE Agent has been provided with all
training that is typically required of individuals
granted access permissions to the system to which access
was granted, including training regarding the federal
laws, regulations, and policies governing the handling of
PII, and maintenance of the integrity and security of OPM
data and technology (“Training”).

If such Training was not given before the grant of access
permissions, an explanation of whether it was given and

when.

(4)

A description of the vetting (and where applicable,
security clearance) processes that such DOGE Agent
underwent prior to the grant of access permissions.

A description of the implementation of any mitigation
procedures that have been developed by OPM to minimize
any security threats that may result from granting access
permissions to such DOGE Agent.

A description of whether such DOGE Agent is an employee
or contractor of OPM hired and appointed in accordance
with governing statutes and regulations, or properly
detailed to OPM (with reference, if applicable, to any
Memorandum of Understanding, or similar agreement,
setting forth that relationship).

A description of whether such DOGE Agent is supervised
by, and directly reports to, OPM officials, with a
description of the reporting chains that govern the DOGE
Agent’s relationship with OPM leadership.

A description of the Privacy Act exception applicable to
such grant of access permissions.

In the case of access permissions granted pursuant to 5
U.S.C. § 552a(b) (1), a description of the DOGE Agent’s
need for the access and whether the DOGE Agent:

(a) works at OPM on a full-time basis;
(b) is paid by OPM; and
(c) simultaneously holds appointments at or is
detailed to or from USDS or any federal agency
other than OPM.
IT IS FURTHER ORDERED that this Order is administratively
stayed for fourteen days pursuant to Rule 62{c), Fed. R. Civ. P.
IT IS FURTHER ORDERED that as a condition of the
preliminary injunction, the plaintiffs shall post a bond
pursuant to Rule 65(c), Fed. R. Civ. P., in the amount of
$1,000. This injunction shall become effective upon the posting
of the bond.

Dated: New York, New York
June 20, 2025

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United States District Judge

